                       Case 1:25-mj-07009-JCB
2-6   5HYLVHG86'&0$           Document 1-2        Filed 01/13/25        Page 1 of 2
Criminal Case Cover Sheet                                                        U.S. District Court - District of Massachusetts

Place of Offense:                      Category No.        II                    Investigating Agency        DEA

City      Amesbury                               Related Case Information:

County       Essex                               6XSHUVHGLQJ,QG,QI                           &DVH1R
                                                 6DPH'HIHQGDQW                              1HZ'HIHQGDQW
                                                 0DJLVWUDWH-XGJH&DVH1XPEHU            25-mj-7009-JCB
                                                 6HDUFK:DUUDQW&DVH1XPEHU            25-mj-7010-JCB
                                                 55IURP'LVWULFWRI

Defendant Information:

'HIHQGDQW1DPH         THOMAS GYNAN                                          -XYHQLOH               G <HV G
                                                                                                           ✔ 1R

                       ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU         G           ✔
                                                                                                          <HVG1R
$OLDV1DPH
$GGUHVV                 &LW\ 6WDWH Amesbury, MA
                      1987
%LUWKGDWH <URQO\ BBBBB661                      M
                                  ODVW BBBBBBBB 6H[BBBBB          5DFHBBBBBBBBBBB                        U.S.
                                                                                                 1DWLRQDOLW\BBBBBBBBBBBBBBBBBBBB

Defense Counsel if known:                                                       $GGUHVV

Bar Number

U.S. Attorney Information:

AUSA         Stephen Hassink                                        %DU1XPEHULIDSSOLFDEOH

Interpreter:            G <HV       ✔ 1R
                                    G                     /LVWODQJXDJHDQGRUGLDOHFW

Victims:                G<HVG1R
                              ✔     ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G           G <HV        ✔ 1R
                                                                                                                          

Matter to be SEALED:               ✔
                                   G <HV        G     1R

          G✔ :DUUDQW5HTXHVWHG                      G 5HJXODU3URFHVV                        G ,Q&XVWRG\

Location Status:

Arrest Date

G $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                LQ                                        
G $OUHDG\LQ6WDWH&XVWRG\DW                                       G 6HUYLQJ6HQWHQFH              G $ZDLWLQJ7ULDO
G 2Q3UHWULDO5HOHDVH         2UGHUHGE\                                          RQ

Charging Document:                  ✔ &RPSODLQW
                                    G                           G ,QIRUPDWLRQ                    G ,QGLFWPHQW
                                                                                                              4
Total # of Counts:                  G 3HWW\                  G0LVGHPHDQRU                   G )HORQ\
                                                                                                 ✔

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔
G         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

'DWH     01/13/2025                         6LJQDWXUHRI$86$ V6WHSKHQ+DVVLQN
                      Case 1:25-mj-07009-JCB                           Document 1-2               Filed 01/13/25           Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant                 THOMAS GYNAN

                                                                        U.S.C. Citations
                 Index Key/Code                                        Description of Offense Charged                                Count Numbers
                                                       'LVWULEXWLRQDQGSRVVHVVLRQZLWKLQWHQWWRGLVWULEXWHFRQWUROOHG
6HW     21 U.S.C. § 841                              VXEVWDQFHVWKDWLVPHWKDPSKHWDPLQH                                    1-4


6HW


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ADDITIONAL INFORMATION:




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
